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                            UNITED STATES D ISTR ICT C O URT
                            SO UTH ER N DISTRICT O F FL ORIDA

                            cAsE NO. 1:23-mj-03969Damian

   UN ITED STA TES OF AM ERICA

   VS.

   SER G IO M IG UEL H ER NA ND EZ-FLO R ES,

         Defendant.
                                                    /

                                  CRIM INA L C OV ER SH EET

         D idthism atteroriginatefrom am atterpending intheN orthern Region oftheUnited States
         Attorney'sOfficepriortoAugust8,2014(Mag.JudgeShaniekM .Maynard)?                  No.
         D id thism atteroriginate from a m atterpending in the CentralRegion ofthe U nited States
         Attorney'sOfficepriortoOctober3,2019(Mag.JudgeJaredM .Strauss)?                   No.
         D id this m atter involve the participation of or consultation w ith now M agistrate Judge
         Eduardo 1.Sanchez during his tenure atthe U .S.A ttorney's Office,which concluded on
         January 22,20237                                                                     N o.


                                                        Respectfully subm itted,

                                                        M A RK ENZY LA POIN TE
                                                        UN ITED STATES ATTORN EY

                                              By:                &>     '
                                                         ara Dodin
                                                        AssistantU nited StatesAttorney
                                                        Florida BarN um ber:0124979
                                                        99 N ol4heast4th Street
                                                        M iam i,Florida 33l32-21l1
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                                                         Soutllern I
                                                                   District0'fFlorida

                 United StatesofA lnerica                               )
                               V.                                       )
                                                                        )     CaseNo. 1:23-1+ -03969Damian
      SERG IO MIGUELHERNANDEZ-FLORES,                                   )
                                                                        )
                                                                        )

         CR IM INAL CO M PLA IN T BY TELEPH ON E ()R O TH ER R ELIA BLE ELECTRO N IC M EA NS

         1,thecomplainantin thiscase,statetllattlefollowing istrueto thebestofmy knourledge andbelief.
                           qmber2023 cg-çtobeq5,4.
On oraboutthedatets)of &qpj-              .      4.
                                                  43 inthecountyof
                                                          -                                              Miami-Dadç             inthe
    southern    Districtof     Florida        ,thedefkndantts)violated:
                                                                  -


         Code&
             vt?c//cp?                                                      Qgèlzb
                                                                                 -eDtts
                                                                                      -c/-
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                                                                                          p//(v;
   18U.s.c.j371                                         Conspiracytoconductanunlicensedmoneyremitter.
   18 U.s.c.j 1960(a)




         el-hiscrilninalconxplaintisbasedon these facts:
        SEE AU ACHED AFFIDAVIT.




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         Q.
          fContinucdonlheattachedshcet.




                                                                                        Andrew Pqlk-opeci
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AttestedtobytlleApplicantinaccordancewiththercquirementsofFcd-lt.cril
                                                                    M-p.4.1by Face Ti3'
                                                                                      ne

Date: October 11,2023

City and state:               . ...   -       M iam is-cj
                                                        .
                                                        y-i
                                                          /p          --.-     Hgp'orpbleMelissaDamian,UnitedStateqA ggistateJudge
                                                                                               /7?-ï?;/(?r/l'altte(7/74/tille
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                   AFFIDAV IT IN SUPPOR T O F CRIM INAL CO M PLA INT
          1,Andrew Parl
                      t,SpecialAgentwith Homeland Security lnvestigations (((HS1''),having
   been firstduly sworn,do hel-eby deposeand state asfollows:

                        INTR OD UCTIO N AND A GENT BA CK G RO UND

                    am a Special Agent with Immigration and Customs Enforcement ((CICE'')
   HomelandSecurity Investigations(1$HS1''),andhavebeensoemployedsinceNovember20l9.I
   am agraduateoftheCriminallnvestigatorTraining Program ((çClTP'')and Homeland Security
   Investigations SpecialAgentTraining (CCHSISAT'')atthe FederalLaw EnforcementTraining
   Center,G lynco,Georgia.Ful
                            qhermore,lserved as a FederalA irM arshalw ith the Transportation '

   and Security A dl-
                    ninistration, Depal-
                                       tm ent of Hom eland Security for fifteen years and as an

   Im m igration Inspector,Tm m igration and Naturalization Service,U.S.Departm entofJustice,for

   fouryears on the southern land borderofthe United States.Currently Iam assigned to the Parcel

   and Passenger InvestigationsG rotlp,atthe M iam ilnternationalA irpol
                                                                       -t,in M iam i,Florida.1 am

   an lûinvestigative orIaw enforcem entofficer''within the m eaning ofTitle 18,United StatesCode,

   Section 2510(7),1am anofficeroftheUnitedStatesempowered by 1aw toconductinvestigations
   and to m ake arrests foroffensesenum erated in Titles l8 and 2l oftlne United States Code.

                 l m ake this affidavit based upon my ow n observations in cdnnection w ith this

   investigation,and information provided to m e in m y officialcapacity by w itnesses,other 1aw

   enforcem ent officers,and otherpersons.

                 Thisaffidavitism ade in supportofa crim inalcom plaintcharging defendantSergio

   MiguelHERNANDEZ-FLORES ('IHERNANDEZ-FLORES'')with conspiracy to conductan
   unlicensed money remitterin violation ofTitles 18,United States Code,Section 1960(a),a11in
   violation ofTitle l8,United States Code,Section 37l.

                 Pursuant to Title 18, United States
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   know ingly conduct,control,m anage,supervise,direct,orow n al1orpal
                                                                     4 ofan unlicensed m oney

   transm itting business.Relevantto thisaffsdavit,a m oney transm itting business is unlicensed ifit

   is(a)(doperatedwithoutanappropriatemoneytransmittinglicenseinaStatewheresuchoperation
   ispunishable asa m isdem eanororfelony understate law,whetherOrnotthe defendantknew that

   theoperationwasrequiredto belicensedorthattheoperationwassopunishable,''Title 18,United

   States Code,Section 1960(b)(1)(A),or(b)ifitûtfailsto comply with the money transmitting
   business registration requirem ents under section 5330 of title 3l, United States Code,

   regbllationsprescribed undersuch section,''nam ely to registerw ith FinCEN ,Title l8 U nited States

   Code,Section l960(b)(1)(B).
         5.       On or about October 5, 2023, HERN AN DEZ-FLORES w as selected for a

   secondary inspection by Customsand BorderProtection (1tCBP'')Officersupon hisarrivalat
   M iam ilnternationalA irport.HERNAN D EZ-FLO RES arrived via A ero M exico Flight412,from

   M exico City, M exico. During inspection and a border search, inform ation contained in

   HERN AN DEZ-FLORES' cellphone indicated his possible involvcm ent in m oney laundering
    '                                                            !
   activities.CBP officersthen contacted HSlSpecialAgents forful-ther investigation.

                  On oraboutOctober5,2023,during a vosb-M iranda interview ofHERN AN DEZ-

   FLORES by HSlSpecialA gents,HERN AN D EZ-FLO RES told agentsthathetravelsfrom M éxico

   to the United States to depositcash into various business banking accounts on behalf ofothers.

   HERNAN D EZ-FLORES claim ed he did notknow w here the m oney com es from ,but initially

   described itasçtbad moneyr''showing thathe understood thatitcom esfrom an illicitsource.

                  H ERNAN DEZ-FLORES told 1aw enforcem entthatin Septem ber2023,hereceived

   US currcncy from unknown individuals in both M iam i, Florida and Baltinnore, M aryland.

   HERNA ND EZ-FLORES stated he received m oney on appropriately eightoccasions in Baltim ore
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   and two occasions in M iam i.He told 1aw enforcem entthathe deposited thatcurrency into various

   business banking accounts after receiving the m oney from unknow n individuals,and then later

   received instructions from an individual H ERN AN DEZ-FLORES identified as 'CFRAN K '' in

   M exico,who would provideH ERN AND EZ-FLO RES the businessnam es,bank accountnum bers,

   and am ountsto be deposited.HERN AN DEZ-FLO RES said he was paid 0.5% ofthe totalam oblnt

   of US currency he deposited. He furtlnerstated the ptlrpose ofthis trip to the US w asto conduct

   the sam etype oftransactions.

         8.      H ERNAN D EZ-FLORES acl
                                       tnow ledged he w as a form er M exican federalpolice

   officerand based on his previous knowledge,training and expelience,HERN AN DEZ-FLORES

   stated he understood thatitw asunusualto depositm oney on behalfofothers and thatthe m oney

   came from an blnknown sotlrce. In a follow-up vost-Nliranda interview,HERN AN DEZ-FLORES

   acknowledged the previous advisem entofhisjbfiranda rightsand was stillwilling to speak with

   1aw enforcem ent w ithout the presence of an attol
                                                    m ey. HERN AN DEZ-FLO RES subsequently

   described the m oney he received as com ing from somethîng çtillegal''. H ERNAN DEZ-FLO RES

   ackl
      nowledged themoney hereceived wasmostlikely from illegitimate sources(namely,drug
   trafficking sources). Follow ing the interview ,H ERNA ND EZ-FLO RES was released w ithout
   ful-therincident.

                 On OraboutOctober5,2023,H ERNAN D EZ-FLO RES contacted HS1and stated

   EIFRAN K''notified him ofa pending delivery ofU S currency to HERN AN D EZ-FLO RES'hotel

   room ,located in M iam i,Florida. HSlstlbsequently conducted surveillance ofthe hotelduring the

   delivery ofcblrrency to HERN AN DEZ-FLORES'hotelroom butdid notobservethe courierarrive

   ordepal'
          t. HERN AN DEZ-FLO RES told H S1specialagents thatthe courier arrived atthe hotel
                                                                            .




   room and gavethemoney to HERNANDEZ-FLORES beforéleaving. HSISpecialAgentswent
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   to HERN AN DEZ-FLORES'hotelroom and H ERN AN DEZ-FLORES turned overapproxim ately

   $145,000toHSISpecialAgents,which wassubsequently seized.HERNANDEZ-FLORES stated

   he received the m oney from a H ispanic m ale who previously delivered m oney to H ERN AN DEZ-

   FLO RES in Septem ber2023 w hen he was i!nM iam i.

                 On orabobltOctober6,2023,HERNAN DEZ-FLORES advised he received a text

   m essage from CIFRAN K''w hich instructed HERN AN DEZ-FLO RES to deposita cum ulative total

   of$20,000 ata Valley NationalBank in M iami,Florida intothesame businessaccountnumber
   viathreeseparatedepositsintheamountsof$7,500,$6,300 and$6,200.
                                             CO NC LUSIO N

                 Based on the foregoing, probable cause exists to prove that, from in or about

   Septem ber2023,through on orabout October 5,2023,in M iam i-Dade County,in the Southern

   D istrict of Florida, and elsew here, Sergio M iguel H ERN AN D EZ-FLORES, did conspire to

   know ingly conduct,control,m anage,supervise,direct,and own all and partof an unlicensed

   m oney transm itting business,as thatterm is defined in Title l8,United States Code, Section

   1960(a),byagreeingtothetransfen-ingoffundswithinthiscountry,onbehalfofthepublicbyany
   and allm eans,including couriers,which affected interstate and foreign com m erce,and w hich w as

   operated w ithoutan appropriatem oney transm itting license in the StatesofFlorida and M aryland,

   w here such an operation was punishable as a felony, and w ithout registering as a m oney

   transm itting business w ith FiIACEN as required by Section 5330 ofTitle 31,United States Code

   andthe rejulationsprescribedthereunder,allinviolationofTitle l8,United StatesCode,Section
    l960(a),inviolationofTitle18,UnitedStatesCode,371.
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    where stlch an operation was punishablc as a I-elolly, and Avithout registering as a nponey
    transnnitting business with FiIACl!N as rcquired by Section 5330 ofTitle 3l,United States Code

    and the regulationsprescribed thcreunder,allin violation ofTitle 18,U nited States Code,Section

    1960($,inviolationofTitle 18,United StatesCode,37l.
           FURTH ER AFFIANT SAYETH NA UGH T.


                                                 U                    W/v
                                                                       UUU
                                               AN DREW PA RK
                                               SPECIA L AGENT
                                               I-IOM ELAN D SEC URITY IN VESTIGATION S


    Attested to by the applicantin accordancew ith the recluirem entsofFed.R.Crilu.P.4.1
    by FaceTim ethis llth day of October2023



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    I'ION ORA BLE M EI,ISSA DAM IAN
    UN ITED STATES M AG ISTRA-I'E JUD GE
